    Case 22-18303-JKS Doc 137 Filed 07/29/23 Entered 07/30/23 00:16:52                                    Desc
                       Imaged
UNITED STATES BANKRUPTCY COURTCertificate of Notice Page 1 of 5
DISTRICT OF NEW JERSEY
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 NORGAARD, O'BOYLE & HANNON
 184 Grand Avenue
 Englewood, NJ 07631
 (201) 871-1333                                                            Order Filed on July 27, 2023
 Attorneys for Debtor-in-Possession                                        by Clerk
                                                                           U.S. Bankruptcy Court
 By: John O’Boyle, Esq, (JO – 6337)                                        District of New Jersey
      joboyle@norgaardfirm.com

In Re:                                                   Case No.:       ____________________
                                                                               22-18303

                                                                            July 6, 2023
                                                         Hearing Date: ____________________
            ALEXANDRE DACOSTA and
               VIVIANNE ANTUNES,                         Judge:          _____________________
                                                                                Sherwood
                                        Debtors.
                                                         Chapter:        _____________________
                                                                                   11




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         The relief set forth on the following page is hereby 25'(5('.




         DATED: July 27, 2023
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        The GHEWRUV FRXQVHO1RUJDDUG2 %R\OH +DQQRQKDYLQJILOHGLWVILUVWLQWHULP
DSSOLFDWLRQIRUDOORZDQFHRIFRPSHQVDWLRQDQGUHLPEXUVHPHQWRIH[SHQVHV>(&)1R@IRU
WKHSHULRGIURP2FWREHUWKURXJK0D\DQGWKHDSSOLFDQWVHHNLQJIHHVLQWKH
DPRXQWRIDQGH[SHQVHVLQWKHDPRXQWRIDQGWKH&RXUWKDYLQJ
UHYLHZHGWKHDSSOLFDWLRQDQGWKH&RXUWDOORZLQJIHHVLQWKHDPRXQWRIRQDQLQWHULP
EDVLVDQGDOORZLQJH[SHQVHVLQWKHDPRXQWRILWLV

        ORDERED that compensation and expenses are allowed as follows:

       APPLICANTS                     COMMISSION/FEES                 EXPENSES

Norgaard, O'Boyle & Hannon                 $,.                  $5,670.86

     Applicant may seek payment of the amounts allowed above, less $ previously
     received, from the GebtorV and/or the Estate as an Administrative Expense.




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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 22-18303-JKS
Alexandre J. Dacosta                                                                                                   Chapter 11
Vivianne C. Antunes
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jul 27, 2023                                               Form ID: pdf903                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 29, 2023:
Recip ID                 Recipient Name and Address
db/jdb                 + Alexandre J. Dacosta, Vivianne C. Antunes, 80 Columbia Avenue, Kearny, NJ 07032-2948
aty                    + Norgaard O'Boyle & Hannon, Norgaard O'Boyle & Hannon, 184 Grand Avenue, Englewood, NJ 07631-3578

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 29, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 27, 2023 at the address(es) listed below:
Name                               Email Address
Donna L. Thompson
                                   on behalf of Creditor Automotive Finance Corporation donna.thompson@dlthompsonlaw.com dlthompsonlaw@aol.com

Donna L. Thompson
                                   on behalf of Plaintiff Automotive Finance Corporation donna.thompson@dlthompsonlaw.com dlthompsonlaw@aol.com

Douglas J. McDonough
                                   on behalf of Creditor Bank of America NA dmcdonough@flwlaw.com

Drew S. McGehrin
                                   on behalf of Creditor Vero Finance Technologies Inc. dsmcgehrin@duanemorris.com

Drew S. McGehrin
                                   on behalf of Plaintiff Vero Finance Technologies Inc. d/b/a Lever Auto dsmcgehrin@duanemorris.com
            Case 22-18303-JKS          Doc 137 Filed 07/29/23 Entered 07/30/23 00:16:52                                          Desc
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District/off: 0312-2                                        User: admin                                                           Page 2 of 3
Date Rcvd: Jul 27, 2023                                     Form ID: pdf903                                                      Total Noticed: 2
Eamonn O'Hagan
                          on behalf of Creditor United States of America (Internal Revenue Service) eamonn.ohagan@usdoj.gov

John O'Boyle
                          on behalf of Defendant Alexandre J. Dacosta joboyle@norgaardfirm.com
                          sferreira@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb1
                          24931@notify.bestcase.com

John O'Boyle
                          on behalf of Defendant Vivianne C. Antunes joboyle@norgaardfirm.com
                          sferreira@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb1
                          24931@notify.bestcase.com

John O'Boyle
                          on behalf of Interested Party BAV AUTO L.L.C. joboyle@norgaardfirm.com,
                          sferreira@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb1
                          24931@notify.bestcase.com

John O'Boyle
                          on behalf of Interested Party Alexandre Dacosta and Vivianne Antunes joboyle@norgaardfirm.com
                          sferreira@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb1
                          24931@notify.bestcase.com

John O'Boyle
                          on behalf of Plaintiff XL Funding LLC dba Axle Funding, LLC f/k/a Auction Credit Enterprises, LLC
                          joboyle@norgaardfirm.com,
                          sferreira@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb1
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John O'Boyle
                          on behalf of Joint Debtor Vivianne C. Antunes joboyle@norgaardfirm.com
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                          24931@notify.bestcase.com

John O'Boyle
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                          sferreira@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb1
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John R. Morton, Jr.
                          on behalf of Creditor Thrift Investment Corporation ecfmail@mortoncraig.com mortoncraigecf@gmail.com

Joseph H. Lemkin
                          on behalf of Creditor XL Funding LLC dba Axle Funding, LLC fka Auction Credit Enterprises, LLC jlemkin@stark-stark.com

Joseph H. Lemkin
                          on behalf of Plaintiff XL Funding LLC dba Axle Funding, LLC f/k/a Auction Credit Enterprises, LLC jlemkin@stark-stark.com

Joseph H. Lemkin
                          on behalf of Creditor Auction Credit Enterprises LLC jlemkin@stark-stark.com

Mark Politan
                          mpolitan@politanlaw.com

Mark Politan
                          on behalf of Trustee Mark Politan mpolitan@politanlaw.com

Peter J. D'Auria
                          on behalf of U.S. Trustee U.S. Trustee Peter.J.D'Auria@usdoj.gov

Phillip Andrew Raymond
                          on behalf of Creditor JPMorgan Chase Bank National Association phillip.raymond@mccalla.com,
                          mccallaecf@ecf.courtdrive.com

Regina Cohen
                          on behalf of Creditor Westlake Flooring Company LLC d/b/a Westlake Flooring Services rcohen@lavin-law.com,
                          mmalone@lavin-law.com

Regina Cohen
                          on behalf of Creditor Westlake Flooring Services rcohen@lavin-law.com mmalone@lavin-law.com

Steven D. Pertuz
                          on behalf of Interested Party BAV AUTO L.L.C. pertuzlaw@verizon.net, G16461@notify.cincompass.com

Steven D. Pertuz
                          on behalf of Interested Party Alexandre Dacosta and Vivianne Antunes pertuzlaw@verizon.net G16461@notify.cincompass.com

Steven D. Pertuz
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                          on behalf of Joint Debtor Vivianne C. Antunes pertuzlaw@verizon.net G16461@notify.cincompass.com

Steven D. Pertuz
                          on behalf of Debtor Alexandre J. Dacosta pertuzlaw@verizon.net G16461@notify.cincompass.com

Steven D. Pertuz
                          on behalf of Debtor BAV AUTO L.L.C. pertuzlaw@verizon.net G16461@notify.cincompass.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov

Valerie A. Hamilton
                          on behalf of Creditor New Jersey Division Of Taxation Valerie.Hamilton@law.njoag.gov


TOTAL: 31
